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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.                                                       Case No. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS, et al.
 _______________________________________/


           This matter is before the Court on an oral referral by the district judge for a report and

 recommendation dealing with a self-reported violation of the Court’s Protective Order (doc.

 454). See Local Rule 6.01(b). Both the government and Defendant Charlie Green’s counsel,

 who immediately reported the disclosure to the government, have suggested different remedies

 (docs. 891, 892, 893). The remaining Defendants mainly agree with Defendant Charlie Green’s

 proposals with caveats. After two hearings on the matter, I find the disclosure was inadvertent;

 nonetheless, I find the government’s concerns about the disclosure real and legitimate.

           A. Background

           The government’s motion (doc. 893) accurately reports what occurred yesterday during

 the jury-selection phase of the trial – Defendant Charlie Green’s counsel reported via an email to

 government counsel a violation of the Court’s Protective Order dealing with a particular

 witness’s report of investigation (ROI), a document that under the agreement was to be limited to

 counsel’s eyes only (and those of the defense team). This document should not have been

 disclosed to any Defendant until seven days before the government called the witness. The

 government promptly reported the matter to the Court. And the Court, pending further inquiry

 regarding the incident, directed the United States Marshal to place the Defendants in a lock down

 status.
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         After two hearings on the matter, I cannot discern how the disclosure occurred other than

 it did. Likewise, I cannot discern if, before the reported disclosure, any Defendant other than

 Charlie Green had access to the disclosed ROI. Despite this fog of who saw what and when, it is

 obvious that by the end of the day, the Defendants likely discussed among themselves the

 particular information that defense counsel reported and that the Protective Order covered.

 Importantly, the government does not contend that any defense attorney nor his or her agent

 purposely disclosed the ROI. In short, the disclosure was inadvertent. Irrespective, the risks

 posed by the disclosure to the affected witness are real, and the government’s interests in

 protecting the witness are legitimate.

         This case’s central feature is violence – a RICO conspiracy involving controlled

 substance offenses, firearm violations, and nine murders that occurred in a small geographic

 section of Bradenton where everyone knows everyone. The government says it will present

 evidence that the Defendants and others engaged in turf battles where contract killings and

 revenge killings were central to the enterprise. As for Defendant Charlie Green, the government

 implicates him in seven of the nine murders. And as to the affected witness, whom the

 government says is a key witness, the government asserts the Defendant Charlie Green had

 before the disclosure attempted to persuade that witness to provide a false alibi. Consequently,

 the threat to the safety and the integrity of potential witnesses, and specifically the affected

 witness, is real.

         And these concerns have not diminished because the Defendants are in custody. All the

 Defendants’ jail calls are monitored and the extent of the monitoring has been a recurring topic

 of the discovery management of the case. The government has proffered that the Defendants,


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 who are each assigned a PIN to make calls, have procured PINs assigned to other detainees who

 are not associated with the case. Using these alternative PINs, the Defendants have made calls

 that are not immediately noticeable to the jailers. This conduct violates the rules regarding phone

 privileges. In the end, it appears that no Defendant who makes a call has been monitored in real

 time. Instead, calls are stored and reviewed according to the reviewer’s protocol.

                1. the government’s proposals

        Importantly, the government is not advocating any sanctions as punishment. Instead, the

 government’s aim is remedial. Accordingly, it proposes that the Court issue an Order that directs

 the following: (1) the Defendants are to be held in administrative lock down during the duration

 of the trial without contact with other inmates; (2) the Defendants are to be permitted to make

 phone calls to potential witnesses but only in the presence of some member of the defense team

 (otherwise a Defendant is to have no telephone calls); (3) the Defendants are to have no visitors

 during the duration of the trial; (4) all protected material (as defined in the Protective Order) is to

 be removed from the courtroom until the applicable seven-day period is triggered (as the

 Protective Order dictates).1

                2. Defense Counsel’s proposals

        Defendant Charlie Green’s counsel offers alternatives: (1) the Court admonish counsel

 that the terms of the Protective Order remain in full force and effect; and (2) defense counsel are

 hereby strictly prohibited from possessing any protected information, in any form, in the


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           The government is not suggesting that the Court impose any restriction on a
 Defendant’s ability to confer with his attorney. See Geders v. United States, 425 U.S. 80, 91
 (1976) (holding that an order preventing defendant from consulting with his counsel during
 overnight recess between his direct and cross-examination impinged upon his right to the
 assistance of counsel guaranteed under the Sixth Amendment).

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 courtroom; and (3) the Defendants are strictly prohibited from exchanging any written materials

 directly with each other in the courtroom and can only exchange such materials through their

 respective counsel.

         All the Defendants object to any administrative detention, the limiting of calls, and the

 limiting of visitors. And one defense counsel (Louderback) maintains that it is impossible to

 enforce any directive that requires removing protected material from the courtroom because the

 digital media format does not readily allow for such a prohibition. For example, a search for

 non-protected material, or search about a non-protected witness, could also pull up from the

 digital archive a protected document. Although that protected document would reveal a

 protective watermark, that page would be momentarily visible to anyone within view of the

 computer screen.

         B. Discussion

         It goes without saying that the United States Marshal or his contracting jailer has a

 legitimate interest in managing the facilities where the Defendants are detained. Jail authorities

 must be able to maintain security and order, and that includes monitoring the Defendants while in

 the detention facility. Bell v. Wolfish, 441 U.S. 520, 540 (1979). Jail calls are routinely

 monitored, limited, and prescribed. See i.e., Fla. Admin. Code at § 33-602.205 (telephone use).

 Thus, jailers are independently able to discipline and enforce their rules for maintaining security

 and order. In other words, the jailer, not the Court, is the enforcer of the jail’s rules.

         In contrast, the remedies occasioned by the Protective Order violation are managerial in

 nature – to determine if the Defendants’ conditions of confinement should be restricted for

 legitimate, non-punitive reasons. Valdez v. Rosenbaum, 302 F.3d 1039, 1048-49 (9th Cir. 2002)


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 (restricting phone access); Higgs v. Carver, 286 F.3d 437, 438 (7th Cir. 2002) (standard for

 evaluating need for administrative detention). I find, as I have already stated, the government has

 legitimate concerns about the safety of its witnesses, and particularly its witnesses whose

 sensitivities are covered by the Protective Order. I also find that to enforce the Protective Order

 and to ensure the safety of witnesses, particularly the affected witness, restrictions on the

 Defendants’ ability to communicate with others, aside from their respective legal teams, are

 warranted.

         C. Recommendations

         For the reasons stated, I recommend:

         1. The Defendants’ lockdown (which has been in place since this issue came to light) be

 lifted be lifted to the extent outlined in this Report.

         2. The Court admonish counsel that the Protective Order remains in full force and effect.

 To ensure compliance with the Protective Order, defense counsel and the government should be

 directed to promptly identify those protected reports of investigation (and their digital identifiers)

 that are the subject of Protective Order and particularly the seven-day disclosure subset.

         3. The Court should admonish the Defendants that they are strictly prohibited from

 exchanging any written materials with each other in the courtroom and the Court should direct

 the Marshal to monitor such behavior.

         4. Defense counsel should be directed to clearly mark and identify any hard copy of a

 protected document, should segregate that document in a clearly identifiable folder or binder, and

 must keep that folder or binder from a Defendant until the Protective Order allows its disclosure.

         5. Because access to the digital media does not allow such an easy fix, defense counsel


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 should be admonished to abide by the Protective Order and to screen digital documents before

 disclosure to a Defendant to ensure that the document so disclosed is not covered by the

 Protective Order.

        6. No Defendant should have any contact (either direct or indirect) with an alleged victim

 of a crime or with a potential witness who may testify concerning the case. Any contact with a

 witness or victim is to be made through defense counsel or a member of the Defendant’s legal

 team. The Defendants are specifically advised that intimidating witnesses, jurors, and officers of

 the court, or obstructing justice, or tampering with a witness, victim, or informant, or retaliating

 against a witness, victim, or informant are all violations of federal law subject to fine and

 imprisonment or both.

        7. Each Defendant is to provide the United States Marshal within five days a list of five

 individuals he wishes to call from the jail or see at the jail (excluding defense counsel and

 members of the defense team). Each list is to be screened by the government. If the government

 objects to a particular individual, it should submit its reasons to the Court as appropriate;

 otherwise, that list should be forwarded to the jail authority for compliance through the Marshals

 Service. Until a Defendant’s contact is authorized, that Defendant is prohibited from calling or

 seeing that contact. If the government contends that these restrictive conditions (or any other

 restrictive conditions) will not ensure the Defendant’s compliance, the government may renew its

 motion for holding that Defendant in administrative segregation (or lockdown) for the duration of

 the trial or for such limited time as to satisfy the legitimate need the government puts forth. In

 making such a motion, the government is to proffer the testimony of the relevant jail authority or




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 deputy United States Marshal with information regarding the futility of restrictions.2

        8. A Defendant’s jail calls to an approved individual or his jail visit with an approved

 individual is to occur in accordance with the rules and policies of the jail.

        9. Any Order the Court issues should not be viewed by jail authorities as limiting their

 authority to impose suitable restrictions on any Defendant for either a violation of custodial rules

 and policies or for a legitimate custodial reason.

        IT IS SO REPORTED in Tampa, Florida on June 14, 2016.




                                      NOTICE TO PARTIES

        Failure to file written objections to the proposed findings and recommendations contained

 in this report within two days (or as otherwise directed by the district judge) from the date of its

 service shall bar an aggrieved party from attaching the factual findings on appeal. 28 U.S.C. §

 636(b)(1).




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          See United States v. Villegas, No. 2:13-cr-00355-GMN-CWH, 2015 WL 3649606 (D.
 Nev. June 11, 2015).

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